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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   CHRIS LANGER,                                       Case No.: 19cv2384 DMS(LL)
12                                     Plaintiffs,
                                                         ORDER (1) VACATING HEARING
13   v.                                                  DATE AND (2) REFERRING CASE
                                                         TO MAGISTRATE JUDGE FOR
14   EUCLID AVENUE, LLC, A California
                                                         SETTLEMENT CONFERENCE
     Limited Liability Company; Phillips
15
     Appliances, Inc., a California Corporation,
16   and DOES 1-10, Inclusive.,
17                                  Defendants.
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19         Plaintiff’s motion for default judgment is currently scheduled for hearing on October
20   23, 2020. In the briefing on this motion, it appears Defendants believed the case had
21   settled, but there was a miscommunication. Accordingly, the Court refers the parties to the
22   Magistrate Judge for a settlement conference to take place on November 3, 2020, at 9:30
23   a.m. The Court will defer ruling on the motion for default judgment pending that
24   conference, and hereby vacates the October 23, 2020 hearing.
25         IT IS SO ORDERED.
26   Dated: October 19, 2020
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